EXHIBIT 6
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3
                           October 3, 2024
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5                TRANSCRIPT OF VIDEO-RECORDED
6                           INTERVIEW
7
8    "INSIDE DIDDY'S FREAK OFFS WITH LAWYER TONY BUZBEE .
9               THE CHRIS HANSEN SHOW . EP 1"
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11        https://www.youtube.com/watch?v=0gM0S-SgNnw
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20   Job No.: 561200
21   Pages: 1 - 26
22   Transcribed by: Christian Naaden
                Transcript of Interview - The Chris Hansen Show
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1                       P R O C E E D I N G S
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3             CHRIS HANSEN:        Coming up, an interview with
4    the lawyer representing more than 100 victims of Sean
5    "Diddy" Combs, some of whom were underage. It seems not
6    a moment goes by without another very disturbing
7    allegation against the music impresario Sean "Diddy"
8    Combs, now being accused by Homeland Security and
9    federal prosecutors of operating a major human
10   trafficking and sex exploitation ring.
11            And Tony Buzbee, who is a lawyer based in
12   Houston, Texas, represents now more than 100 survivors,
13   victims, allegedly of Diddy. And Mr. Buzbee joins me
14   now from Houston, sir. Thank you for being with us
15   today.
16            TONY BUZBEE:       Glad to be here. Chris, how are
17   you?
18            CHRIS HANSEN:        I'm great. Thank you. Disturbed
19   by all this, though? We've been investigating predators
20   for for decades now.
21            And I'm at a loss to describe an alleged case
22   this big, this violent and this disturbing. How do you


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1    conduct occurred at -- at, you know, venues, whether it
2    be hotels, clubs after parties, famous people's homes,
3    you know, publicized parties that that are all over the
4    internet, we can see that the clips from them.
5               And if you look at interviews that people that
6    attended the party, when they get to the point of
7    asking about certain things that would kind of get
8    close to some of the conduct we're talking about, you
9    know, they go quiet.
10              TONY BUZBEE:       So this was a secret in the
11   industry that everyone knew about. And I'm just very
12   proud that that, you know, that the chips have started
13   to fall.
14              You know, the Cassie case, I think was was
15   kind of the beginning of this and then the the
16   investigation and then the the indictment and then the
17   arrest and then the bail being denied. And now people
18   are coming forward.
19              In fact, we published a phone number for abuse
20   Hotline yesterday and it literally crashed. We had so
21   many calls. So we have a great task in front of us of
22   trying to sift through whether these folks who are


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1    calling are victims or have information or just, you
2    know, you obviously, you know that in these types of
3    situations, there's people that just call for, you
4    know, and crank and that sort of thing.
5            We have to sift through that and we're going
6    to do that. But I expect we'll start filing cases in
7    New York federal court in the next two weeks to 30
8    days.
9            And I expect we're going to be joining
10   defendants in these cases that are going to raise some
11   eyebrows. And I look forward to, you know, following
12   this evidence wherever it goes and whoever.
13           CHRIS HANSEN:         Begs the question, Mr. Buzbee,
14   and you bring up one of the points that intrigues me
15   and a lot of other people so much is that other people
16   in the music industry had to know, perhaps even cover
17   up and, as you may allege in the future, have taken a
18   role in allowing Combs to do this.
19           AD:     Hey everyone, Chris Hansen here. We have
20   almost 100 new episodes on my streaming crime network.
21   Watch true blue.com. Use the code YouTube 24 for half
22   off your first month or YouTube year for $20 off a full


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1    segment of the music industry that, as you have said
2    and has been proved, look the other way on this.
3            TONY BUZBEE:         I call it the, you know, the the
4    facilitators. You know, obviously the people that
5    participated in this are terrible, terrible actions and
6    terrible conduct and, and should be prosecuted and put
7    underneath the jail.
8            But you know, what really irks me are the
9    people that that saw this happening, that enjoyed,
10   enjoyed themselves while it was happening, that fancy
11   themselves as upstanding people and knew this was
12   happening and continue to go to these parties knowing
13   this was going to happen. And there were, in my view,
14   are just as complicit.
15           And -- and whether they, you know, they can be
16   criminally charged or even civilly sued, people should
17   know, know that they knew and they didn't do anything
18   about it.
19           CHRIS HANSEN:          Tony Buzbee from Houston, thank
20   you very much for spending all this time and taking us
21   inside this investigation.
22           I promise you we will stay in touch and we


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1    will continue our work on our end as well. Thank you,
2    sir.
3            TONY BUZBEE:        Thank you Chris.
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8    above 25 pages contain a full, true and correct
9    transcription of the tape-recording that I received
10   regarding the event listed on the caption on page 1.
11
12           I further declare that I have no interest in
13   the event of the action.
14
15
16           November 11, 2024
17           Chris Naaden
18
19   (561200, Inside Diddy's FREAK OFFS with Lawyer Tony
20   Buzbee, The Chris Hansen Show, EP 1)
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